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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


  GENERAL MOTORS LLC,
  GENERAL MOTORS COMPANY,                  No. 19-cv-13429

                     Plaintiffs,           Honorable Paul D. Borman
        against                            District Court Judge

  FCA US LLC, FIAT CHRYSLER                Honorable David R. Grand
  AUTOMOBILES N.V., ALPHONS                Magistrate Judge
  IACOBELLI, JEROME DURDEN,
  MICHAEL BROWN,

                     Defendants.




                  APPENDIX OF UNPUBLISHED AUTHORITIES
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  Attachment                               Document
       1        Belknap v. Bank of Am. Corp.,
                    2015 WL 1423398 (N.D. Ohio Mar. 27, 2015)
       2        Counts v. Gen. Motors, LLC,
                   2018 WL 5264194 (E.D. Mich. Oct. 23, 2018)
       3        Davis v. United States,
                    2010 WL 5014533 (E.D. Ky. Dec. 3, 2010)
       4        KBT Grp., LLC v. City of Eastpointe,
                   2019 WL 1556194 (E.D. Mich. Apr. 10, 2019)
       5        Murphy v. Vaive Wood Prod. Co.,
                   2019 WL 117337 (E.D. Mich. Jan. 7, 2019)
       6        Raymo v. FCA US LLC,
                   2020 WL 4366061 (E.D. Mich. July 30, 2020)
